
7 N.Y.2d 845 (1959)
In the Matter of Fina Homes, Inc., Appellant,
v.
John C. Young et al., Constituting the Board of Zoning Appeals of the Town of Hempstead, Respondents.
Court of Appeals of the State of New York.
Argued October 7, 1959.
Decided December 30, 1959.
William S. Cohn for appellant.
John A. Morhaus, Town Attorney (Robert M. Stein of counsel), for respondents.
Concur: Chief Judge CONWAY and Judges DESMOND, DYE, FULD, FROESSEL and BURKE. Judge VAN VOORHIS dissents and votes to reverse the order, to annul the determination and to direct the issuance of the permit upon the dissenting memorandum of BELDOCK and KLEINFELD, JJ., in the Appellate Division.
Order affirmed, with costs; no opinion.
